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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
  RCH/SPN/HDM/CRH                                      271 Cadman Plaza East
  F. #2018R01309                                       Brooklyn, New York 11201

                                                       October 5, 2022

  By ECF

  The Honorable Brian M. Cogan
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                 Re:     United States v. Thomas Joseph Barrack, et al.
                         Criminal Docket No. 21-371 (S-1) (BMC)

  Dear Judge Cogan:

                  The government respectfully moves pursuant to Federal Rule of Criminal
  Procedure 16(b)(1)(A)(ii) and the interests of fairness, reciprocity, and trial efficiency to compel
  the defendant Thomas Barrack to produce to the government all exhibits that he intends to
  introduce in his case-in-chief at trial, including during cross-examination of government witnesses.
  It has become clear since trial began that Barrack’s failure to comply with his obligations, or with
  the mutual agreement among the parties regarding the timely exchange of trial exhibits, has been
  strategic in nature—essentially amounting to trial by ambush and resulting in clear trial
  inefficiencies. Courts routinely issue orders meant to avoid such inefficiencies. Accordingly, the
  government moves for an order compelling Barrack to produce his “case-in-chief” exhibits to the
  government forthwith.

         I.      Background

                  Two months ago, on August 5, 2022, the parties exchanged preliminary exhibits by
  mutual agreement and in light of the Court’s order endorsing the government’s proposed disclosure
  schedule for witness lists, witness statements, and exhibits several weeks before trial. See ECF
  No. 110, at 1, 4. The parties subsequently agreed to provide three days’ notice of witnesses to be
  called (by the government during its case, by the defense during any defense case) and of particular
  exhibits to be introduced on upcoming trial days. The government believed the defendants had
  complied with these agreements until the night before the start of trial, when the government
  learned that both defendants intended to use PowerPoint presentations displaying exhibits that had
  not previously been produced to the government. See ECF No. 259 (letter moving for order
  compelling disclosure of slides to be used during opening statements). 1
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           In addition, on September 21, 2016, at approximately 10:49 PM, counsel for Barrack
  disclosed for the first time ten exhibits to the government, described as “case-in-chief” exhibits,
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                   Since that date, counsel for Grimes has disclosed numerous additional defense
  exhibits to the government and, more importantly, has represented to the government that Grimes
  has disclosed all, or nearly all, of the exhibits he may seek to introduce at trial, including through
  cross examination where not cabined to impeachment. The government very much appreciates
  counsel for Grimes’s decision to respect the agreement of the parties and the effort towards basic
  trial fairness, efficiency, and reciprocity. Barrack’s counsel, in contrast, has consistently refused
  to make any such representation as to the state of their compliance with discovery obligations or
  to provide straightforward answers to the government’s questions regarding defense exhibits, other
  than to repeat variations of the statement that they will produce documents to be used as
  case-in-chief exhibits once they make their final determination.

                   The damage to trial fairness and efficiency posed by counsel for Barrack’s approach
  came to a head during the cross-examination of Special Agent Sidaros yesterday. During
  cross-examination, Barrack’s counsel repeatedly placed on the government’s table documents that
  had never been disclosed to the government, including a 100-page transcript of a C-SPAN video
  the publication date of which was not immediately clear, and moved for them to be admitted into
  evidence immediately. Notably, counsel for Barrack had not provided a copy of these materials
  in advance for the Court, either. Given the length of the transcript, the government was placed in
  a very difficult position—forced to attempt to make a reasoned decision involving a lengthy exhibit
  of some magnitude while simultaneously addressing the Court’s valid concerns about the jury’s
  time. See Tr. at 1786:22-24 (“You guys you are conferring a little too much, we have to move it
  a little faster. What do you want to do?”).

                 Although the Court clarified that certain exhibits were admitted for a limited
  purpose – in particular, those to which the government objected or whose admissibility the
  government sought to limit – the Court also suggested that, absent government objection, the
  exhibits were coming in for all purposes, not just for impeachment. See Tr. at 1776:15-18 (“You
  asked for a limiting instruction after it was already admitted, so I’m going to give him some
  leeway”).

         II.     Legal Standard

                 Federal Rule of Criminal Procedure 16(b)(1)(A)(ii) requires a defendant to produce
  to the government all documents and records if “the defendant intends to use the item in the
  defendant’s case-in-chief at trial.” Further, “Rule 16 requires Defendants to identify all
  non-impeachment exhibits they intend to use in their defense at trial, whether the exhibits will be
  introduced through a government witness or a witness called by a Defendant.” United States v.
  Napout, No. 15 CR 252 (PKC), 2017 WL 6375729, at *7 (E.D.N.Y. Dec. 12, 2017). “[T]here is
  general consensus among courts that if a defendant seeks to present affirmative
  (non-impeachment) evidence through a government witness during the government’s case in chief,
  the defendant’s presentation of evidence during such an examination should be treated as part of

  that counsel for Barrack intended to introduce through a government witness scheduled to testify
  the very next day. In addition, the labels on the exhibits received to date strongly suggest that
  Barrack is withholding additional, pre-marked exhibits.


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  the defendant’s ‘case in chief’ for purposes of the defendant’s disclosure obligations under Rule
  16.” Id. Where a defendant fails to timely disclose such exhibits to the government, the Court
  may exclude those exhibits as untimely under Rule 16. See id. at *8. That is because, as Judge
  Chen recently explained in Napout:

                 “[W]here a defendant cross-examines a government witness to buttress[ ]
                 her theory of the case, rather than to impeach the testimony given by the
                 witness on direct examination, [t]he cross-examination ... is properly seen
                 as part of the defendant's case-in-chief.”

  Id. at *7 (internal quotation marks and citation omitted). Indeed, “this interpretation of Rule 16
  has been adopted by almost every district court to consider the issue.” Id. (citing United States v.
  Hsai, No. 98-cr-057, 2000 WL 195067, at *2 (D.D.C. Jan. 11, 2000); United States v. Swenson,
  298 F.R.D. 474, 478 (D. Idaho 2014); United States v. Holden, No. 13-cr-444, 2015 WL 1514569,
  at *5 (D. Or. Mar. 19, 2015); United States v. Larkin, No. 12-cr-319, 2015 WL 4415506, at *6 (D.
  Nev. July 20, 2015); United States v. Aiyaswamy, No. 15-cr-568, 2017 WL 1365228, at *5 (N.D.
  Cal. Ap Cal. Apr. 14, 2017)).

                  Although reciprocal disclosure obligations do not extend to documents used solely
  to impeach, “the defense should not be permitted to circumvent its disclosure obligation by
  presenting exhibits during the cross-examination of government witnesses or by characterizing an
  exhibit as being offered for impeachment” when it is used to “buttress her theory of the case,”
  Napout, 2017 WL 635729 at *7, or “addresses the substance of the charges,” United States v.
  Sineneng-Smith, No. C-10-00414 RMW, 2013 U.S. Dist. LEXIS 89843 at *8 (N.D. Cal. June 24,
  2013). Thus, evidence “that is offered primarily to prove or disprove an element of a claim or
  defense is not evidence that is offered to impeach the credibility of a witness and thus is not
  impeachment evidence; it must be disclosed in accordance with Rule 16.” United States v. Heine,
  No. 3:15-CR-238-SI, 2017 WL 4423408, at *8 (D. Or. Oct. 5, 2017) (emphasis in original); see
  also United States v. Liberto, 565 F. Supp. 3d 739, 746 (D. Md. 2021) (same). In addition, where
  the discovery in a case is voluminous, it is not sufficient for the government or defense to merely
  state that the opposing party is in possession of the documents that may be introduced as exhibits,
  and courts often direct exchanges of exhibits in advance of trial in the interests of efficiency. See,
  e.g., United States v. Giffen, 379 F. Supp. 2d 337, 344 (S.D.N.Y. 2004).

         III.    Argument

                 Since trial began, counsel for Barrack has withheld case-in-chief exhibits from the
  government, despite the fact that the parties mutually agreed to disclose, in good faith, exhibits
  two months ago, on August 5, 2022. 2 The government does not, as argued by Barrack in his
  response to the government’s motion seeking limitations on admission of exhibits during cross

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           The parties have continued to supplement their exhibit lists, as is to be expected during
  the course of trial, and the government recognizes that such adjustments with respect to specified
  exhibits will continue. The government, for its part, has disclosed and identified all supplemental
  exhibits (i.e., those not identified in the original exchange of exhibits) well in advance of any
  particular witness’s testimony.


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  examination, seek “an advance roadmap of the defense’s strategy.” ECF No. 281 at 3. But the
  government is entitled to disclosure of exhibits to be introduced into evidence on cross
  examination where, as with certain exhibits introduced on October 3, 2022, they are plainly
  “offered primarily to prove or disprove an element of a claim or defense” and not to impeach the
  credibility of the testifying witness. Heine, No. 3:15-CR-238-SI, 2017 WL 4423408, at *8. It was
  partly for this reason that the government filed its motion urging the Court to distinguish between
  exhibits introduced as extrinsic evidence of impeachment, which must satisfy particular, narrow
  standards relating to the credibility of the testifying witness and may be accompanied by an
  instruction limiting their use, from documents intended more broadly to advance defense theories
  of the case. The government does not seek – and, should the defendants put on a case, does not
  intend to provide – advance notice of pure impeachment exhibits, but case-in-chief exhibits must
  be produced and identified in advance of a witness’s testimony. Barrack’s counsel has repeatedly
  introduced such exhibits into the record at trial with no notice to the government or the Court.

                    During the cross examination of Special Agent Sidaros, Barrack introduced
  numerous exhibits that have essentially no impeachment value – and, in any event, satisfied none
  of the standards for introduction of extrinsic impeachment evidence – and thus were, in their effect,
  case-in-chief evidence. 3 See Heine, No. 3:15-CR-238-SI, 2017 WL 4423408, at *8. For example,
  Barrack introduced evidence of a video played on C-SPAN regarding the removal of a portion of
  the Republican Party Platform regarding the declassification of certain pages of a Congressional
  report on 9/11. The clear implication of this evidence is that the information regarding the change
  to the platform was not “confidential,” as described by Barrack in emails forwarding information
  about the change. This is a perfectly tenable argument to make, of course, based on a case-in-chief
  exhibit meant to “disprove an element” of the government’s case or to “prove . . . an element of a
  . . . defense,” id., and the government does not here argue that its admission was improper through
  Agent Sidaros, particularly in light of the leeway the Court has indicated it intends to give. 4 The
  government wishes to underscore, however, that the nature of the defense questioning, and the
  nature and probative value of the video itself, made clear that the video was in fact a case-in-chief
  exhibit disguised as an impeachment exhibit. As such, it should have been provided in discovery
  and marked as an exhibit identified for the government in advance. See Giffen, 379 F. Supp. 2d
  at 344 (“The Government is entitled to reciprocity” from the defendants); cf. United States v.
  Ulbricht, No. 14 CR 68 (KBF), 2015 WL 413318, at *3 (S.D.N.Y. Feb. 1, 2015) (“A defense
  preference for trial by ambush is legally unsupportable.”).

               It is no answer to state, as Barrack’s counsel has repeatedly, that they have yet to
  decide which exhibits they will seek to admit. See e.g., United States v. Osuji, No. CRIM.

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           If Barrack takes the position that these were truly impeachment exhibits, the government
  hereby requests, and assumes the defense will not object to, an instruction that the jurors may not
  consider the documents put into the record for any other purpose than assessing the credibility of
  Agent Sidaros.
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            Because the video was admitted for impeachment purposes, the government will object
  to any such argument based on this exhibit to the extent the argument is not directed at the
  credibility of Agent Sidaros’s testimony, but counsel has already advanced arguments about the
  exhibit, through his questions, aimed more broadly at its core defense.


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  3:06CR415, 2007 WL 4118386, at *4 (W.D.N.C. Nov. 16, 2007) (“At this late date, the Defendant
  cannot be heard to say that no decisions have been made with respect to which witnesses and
  documents will be introduced at trial.”). To state the obvious, counsel certainly had decided which
  exhibits it would seek to admit the night before (and likely far earlier) they began
  cross-examination of Special Agent Sidaros. Yet their practice has been to hand hard copies to
  the government simultaneous with counsel’s request for admission. While the burden of proof lies
  squarely with the government, that does not mean that Barrack’s counsel should be permitted to
  dump voluminous, non-impeachment exhibits on the government’s table for the first time and then
  force the government to make rushed decisions on possible evidentiary objections, on the fly and
  in the presence of the jury. The government is not in a position to review a 107-page transcript for
  possible objections – hearsay, relevance, authenticity, and so on – in a handful of minutes. The
  basic scope of the government’s case is hardly a mystery at this point, and the time has long past
  for disclosure to the government.

                   The government therefore respectfully requests that the Court order the defendants
  to identify and produce all case-in-chief exhibits forthwith or risk their preclusion at trial. See,
  e.g. Giffen, 379 F. Supp. 2d at 344 (directing defendant to provide trial exhibit list and copies of
  exhibits to government “at the start of trial or no later than thirty days prior to the start of the
  Defendant’s case”); see also United States v. Mavashev, No. 08 CR 902 (DLI), 2010 WL 670083,
  at *4 (E.D.N.Y. Feb. 23, 2010) (“[T]o the extent defendant intends to use any documents, objects,
  reports of examinations, or tests in his case-in-chief at trial, he is ordered to comply with the
  government’s request immediately, i.e., no later than twenty-four (24) hours following the issuance
  of this Order. Failure to do will result in such evidence being precluded. See Fed. R. Crim. P.
  16(d)(2)(C)”); United States v. Weiss, 930 F.2d 185, 199 (2d Cir. 1991) (district court did not
  abuse its discretion in precluding evidence during trial because “[d]efense counsel planned to use
  the documents in their case-in-chief and was obliged to disclose the documents under Rule 16(b)[;]
  . . . . Permitting the defense to use the documents, particularly without the prosecution ever having
  seen them and despite the earlier government requests for those documents, would have given the
  defense an unfair advantage.”); United States v. Jasper, No. 00 CR 825, 2003 WL 223212, at *1
  (S.D.N.Y. Jan. 31, 2003).

         IV.     Conclusion

                   For the reasons stated herein, the government respectfully moves to compel the
  defendants to produce to the government all exhibits that it intends to introduce in its case-in-chief
  at trial, including during cross-examination, pursuant to Federal Rule of Criminal Procedure




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  16(b)(1)(A)(ii) and “based on the policy concerns of Rule 16 and principles of fairness.” Giffen,
  379 F. Supp. 2d at 344.


                                                      Respectfully submitted,

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         Clerk of the Court (BMC) (by ECF)




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